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US DISTRICT COURT

WESTERN DIST ARKANSAS
FILED
IN THE UNITED STATE DISTRICT COURT. DEC 07 2
FOR THE WESTERN DISTRICT. OF ARKANSAS EC M20
FORT SMITH DIVISION Tey CLASF. YOUNG, Clerk
Depaty Clerk
UNITED STATES OF AMERICA PLAINTIFF
Vv CASE NO.: 2:20CR20017-001-018,
MICHAEL DEAN WILSON DEFENDANT

 

 

MOTION TO INTERVENE AND OBJECT TO FORFIETURE

GOMES NOW, Deanna Copeland, girlfriend of Defendant, Michael
Déan. Wilson thtough her attorney, Sara F. Merritt and for her Motion to
Intervene and Object to Forfieture statés:

l. That an indictment was filed including an intent to seek
criminal forfeiture including $10,040.00 seized from Michael Dean Wilson
on September 10, 2020.

2. The $10'040.00 seized was the property of Deanna Copeland
and was not fhe proceeds of drug trafficking.

3. This monéy was proceeds of her unemployment benefits, See
attached.

4, Deanna Capeland objects and wishes to have the money
séized returned to her.

WHEREFORE, Deanna Copeland, prays this motion ke granted.

Respectfully Submitted,

Sara F. Meritt, #89057

Merritt Law Firm

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sherwood, AR 72120

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501/864-7508 Fax

 
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CERTIFICATE OF SERVICE

|, Sara F,.Merritt, hereby certify that! have this 7h day of December,
2020, délivered to the below listed parties, by mail, a copy. of the within
pleading.

Brandon Garter

Asst. United States Attorney
414 Parker Avenue

Fort Smith, AR 72901

Sara F. Merritt

 
